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                  Exhibit B
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From:                Wesneski, Josh (via epic-mobileapps list) <epic-mobileapps@lists.cravath.com>
Sent:                Tuesday, February 25, 2025 6:00 AM
To:                  Brent Byars; Weil Apple Epic; epicapplecompliance@gibsondunn.com
Cc:                  Epic Mobile Apps EXTERNAL
Subject:             RE: Epic v. Apple - certain exhibit issues
Attachments:         APL_EG_11347971 (redacted).pdf; APL-EG_11391659 [blown up version].pdf



Brent,

-The material in CX-0268 over which we are asserting privilege is the same material reviewed and ruled on by
Judge Hixson in his December 2 order regarding APL-EG_10699646. That document was reproduced to Epic
as APL-EG_11636126, with only the redactions upheld by Judge Hixson. Those are the redactions flagged
during counsel’s examination and reflected in the attached redacted version of CX-0268.

-CX-0291 is addressed in my letter to Mr. Bornstein last night.

-An enlarged version of APL-EG_11391659 is attached. Please let us know if this suffices.

Best,




Joshua M. Wesneski
Partner

Weil, Gotshal & Manges LLP
2001 M Street NW, Suite 600
Washington, DC 20036
Joshua.Wesneski@weil.com
+1 202 682 7248 Direct
+1 202 857 0940 Fax



From: Brent Byars <MByars@cravath.com>
Sent: Monday, February 24, 2025 11:01 PM
To: Weil Apple Epic <WeilAppleEpic@weil.com>; epicapplecompliance@gibsondunn.com
Cc: Epic Mobile Apps EXTERNAL <epic‐mobileapps@cravath.com>
Subject: Epic v. Apple ‐ certain exhibit issues


Counsel,

First, Apple objected to the introduction of portions of CX-268 based on claims of privilege. Please
immediately provide proposed redactions of the information that Apple contends is privileged. Apple further
asserted that similar versions of this document were produced in redacted form, and Epic requests that Apple
identify those documents.


                                                           1
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Second, Apple asserted that CX-291 was subject to its standing objection to the use of Category 2 documents
that Apple contends are privileged. However, CX-291 is not a Category 2 document. Please confirm that
Apple withdraws its standing objection as to this exhibit.

Finally, the Court requested a more legible copy of CX-272. Please confirm that Apple is locating such a copy
and will provide it to Epic before it is submitted to the Court.

Brent


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